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                                                               August 29, 2022

         VIA ECF AND EMAIL

         The Honorable Analisa Torres
         United States District Judge
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl St.
         New York, New York 10007
         Torres_NYSDChambers@nysd.uscourts.gov

         Re:        Ultra International Music Publishing, LLC v. Kanye West individually and d/b/a “Yeezy
                    Tech,” et al., Case No. 1:22-cv-05560 (AT)

         Dear Judge Torres:

                 We represent Defendant Ye, formerly known as Kanye West (“Defendant”), in the above-
         captioned action, and write pursuant to Sections I.B. and I.C. of Your Honor’s Individual Practices
         to request a thirty-one day extension of time to respond to the Complaint filed by Plaintiff Ultra
         International Music Publishing, LLC (“Plaintiff”). This is Defendant’s second request for an
         extension of time; the Court granted Defendant’s first request for an extension on July 29, 2022.
         See Dkt. 23. Plaintiff consents to the requested extension.

                Defendant’s current deadline to respond to the Complaint is September 2, 2022. Defendant
         respectfully requests a thirty-one day extension of this deadline, to October 3, 2022,1 so that
         Defendant may continue to investigate Plaintiff’s allegations to form a good-faith basis for
         responding to the Complaint, and so the parties may engage in further settlement discussions to
         potentially resolve the action without further burdening the parties or the Court.

                    We thank the Court for its attention and courtesies.

                                                                         Respectfully Submitted,




         cc:        Counsel of Record


         1
             A thirty-day extension would place the deadline on Sunday, October 2, 2022.

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